     Case 2:18-cv-01026-GMN-NJK Document 1 Filed 06/06/18 Page 1 of 7



 1 Mathew K. Higbee, Esq., SBN 11158
   HIGBEE & ASSOCIATES
 2
   1504 Brookhollow Dr., Suite 112
 3 Santa Ana, CA 92705
   (714) 617-8352
 4 (714) 597-6729 facsimile
 5 Email: mhigbee@higbeeassociates.com
 6 Alyson Dykes, Esq. ( Pro Hac Vice Pending)
 7 LAW OFFICE OF JEFFREY LOHMAN, P.C.
   4740 Green River Rd., Suite 206
 8 Corona, CA 92880
 9 (866) 329-9217
   Email: alysond@jlohman.com
10
11 Attorneys for Plaintiff,
   CHRISTOPHER BANGCAYA
12
13
                        UNITED STATES DISTRICT COURT
14                           DISTRICT OF NEVADA
15
16   CHRISTOPHER BANGCAYA, an               Case No. ____________________
     individual,
17
18                         Plaintiff,       COMPLAINT

19                                          DEMAND FOR JURY TRIAL
     v.
20
     Capital One Banks (USA) N.A.,
21
22
                           Defendant.
23
24
25
26        NOW COMES Plaintiff, CHRISTOPHER BANGCAYA ("Plaintiff'),

27   through his attorneys, and hereby alleges the following against CAPITAL ONE

28   BANK (USA) N.A. ("Defendant"):


                                           1     PLAINTIFF’S COMPLAINT FOR DAMAGES
     Case 2:18-cv-01026-GMN-NJK Document 1 Filed 06/06/18 Page 2 of 7



 1                                      INTRODUCTION
 2         1.     Count I of Plaintiff's Complaint is based on negligent violations
 3   of the Telephone
 4   Consumer Protection Act 47 U.S.C. § 227 et seq., (TCPA).
 5         2.     Count II of Plaintiff s Complaint is based on knowing and/or
 6   willful violations of the Telephone Consumer Protection Act 47 U.S.C. § 227
 7   et seq., (TCPA).
 8                                 JURISDICTION AND VENUE

 9         3.     Jurisdiction of this Court arises under 28 U.S.C. § 1331 and 47
10   U.S.C. §227(b)(3). See,
11   Mims v. Arrow Financial Services, LLC, 132 S.Ct. 740 (2012), holding that
12   federal and state courts have concurrent jurisdiction over private suits arising
13   under the TCPA.
14         4.     Venue is proper in the United States District Court for the District of
15   Nevada pursuant to 28 U.S.C § 1391(b) because Plaintiff resides within this District
16   and a substantial part of the events or omissions giving rise to the herein claims
17   occurred, or a substantial part of property that is the subject of the action is situated
18   within this District.
19                                           PARTIES
20         5.     Plaintiff is a natural person residing in Clark County, in the city of Las
21   Vegas, Nevada.
22         6.     Defendant is a Virginia corporation, doing business in the State of
23   Nevada, with its principal place of business located in McLean, Virginia.
24         7.     At all times relevant to this Complaint, Defendant has acted through
25   its agents employees, officers, members, directors, heir, successors, assigns,
26   principals, trustees, sureties, subrogees, representatives and insurers.
27   //
28   //

                                                 2     PLAINTIFF’S COMPLAINT FOR DAMAGES
     Case 2:18-cv-01026-GMN-NJK Document 1 Filed 06/06/18 Page 3 of 7



 1                                FACTUAL ALLEGATIONS
 2         8.     Defendant is a "person" as defined by 47 U.S.C. § 153(10).
 3         9.     Defendant placed collection calls to Plaintiff seeking and attempting to
 4   collect on alleged debts incurred through purchases made on credit issued by
 5   Defendant.
 6         10.    Defendant placed collection calls to Plaintiffs cellular telephone at
 7   phone number (702) 466-24XX.
 8         11.    Defendant placed collection calls to Plaintiff from phone numbers
 9   including, but not limited to (800) 955-6600.
10         12.    Per its prior business practices, Defendant's calls were placed with an
11   automated telephone dialing system ("auto-dialer").
12         13.    Defendant used an "automatic telephone dialing system", as defined
13   by 47 U.S.C. § 227(a) (1) to place its telephone calls to Plaintiff seeking to collect a
14   consumer debt allegedly owed by Plaintiff, CHRISTOPHER BANGCAYA.
15         14.    Defendant's calls constituted calls that were not for emergency
16   purposes as defined by 47 U.S.C. § 227(b)(1)(A).
17         15.    Defendant's calls were placed to a telephone number assigned to a
18   cellular telephone service for which Plaintiff incurs a charge for incoming calls
19   pursuant to 47 U.S.C. § 227(b)(1).
20         16.    Defendant never received Plaintiffs "prior express consent" to receive
21   calls using an automatic telephone dialing system or an artificial or prerecorded
22   voice on his cellular telephone pursuant to 47 U.S.C. § 227(b)(1)(A).
23         17.    On or about September 14, 2017, Plaintiff called into Defendant's
24   company at phone number (800) 955-6600 and spoke with Defendant's female
25   representative and requested that Defendant cease calling Plaintiffs cellular phone.
26         18.    During the conversation on September 14, 2017, Plaintiff gave
27   Defendant his social security number and date of birth to assist Defendant in
28   accessing his account before asking Defendant to stop calling his cell phone.

                                                3      PLAINTIFF’S COMPLAINT FOR DAMAGES
     Case 2:18-cv-01026-GMN-NJK Document 1 Filed 06/06/18 Page 4 of 7



 1         19.    Plaintiff revoked any consent, explicit, implied, or otherwise, to call
 2   his cellular telephone and/or to receive Defendant's calls using an automatic
 3   telephone dialing system in his conversation with Defendant's representative on
 4   September 14,2017.
 5         20.    Despite Plaintiffs request to cease, Defendant placed another
 6   collection call to Plaintiff the next day, on September 15,2017.
 7         21.    Defendant continued to place collection calls to Plaintiff after
 8   September 14, 2017

 9         22.    Despite Plaintiffs request that Defendant cease placing automated

10   collection calls, Defendant placed at least one hundred and nine (109) automated

11   calls to Plaintiffs cell phone.

12        FIRST CAUSE OF ACTION NEGLIGENT VIOLATIONS OF THE

13                   TELEPHONE CONSUMER PROTECTION ACT

14                                     (47 U.S.C. § 227)

15         23.    Plaintiff repeats and incorporates by reference into this cause of action

16   the allegations set forth above at Paragraphs 1-22.

17         24.    The foregoing acts and omissions of Defendant constitute numerous

18   and multiple negligent violations of the TCPA, including but not limited to each

19   and every one of the above cited provisions of 47 U.S.C. § 227 et seq.

20         25.    As a result of Defendant's negligent violations of 47 U.S.C. § 227 et

21   seq., Plaintiff is entitled to an award of $500.00 in statutory damages, for each and

22   every violation, pursuant to 47 U.S.C. §227(b)(3)(B).

23         26.    Plaintiff is also entitled to seek injunctive relief prohibiting such

24   conduct in the future.

25   //

26   //

27   //

28   //


                                               4     PLAINTIFF’S COMPLAINT FOR DAMAGES
     Case 2:18-cv-01026-GMN-NJK Document 1 Filed 06/06/18 Page 5 of 7



 1          SECOND CAUSE OF ACTION KNOWING AND/OR WILLFUL
 2    VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT
 3                                (47 U.S.C. § 227 et. seq.)
 4          27.   Plaintiff repeats and incorporates by reference into this cause of action
 5   the allegations set forth above at Paragraphs 1-22.
 6          28.   The foregoing acts and omissions of Defendant constitute numerous
 7   and multiple knowing and/or willful violations of the TCPA, including but not
 8   limited to each and every one of the above cited provisions of 47 U.S.C. § 227 et
 9   seq.
10          29.   As a result of Defendant's knowing and/or willful violations of 47
11   U.S.C. § 227 et seq.. Plaintiff is entitled an award of $1,500.00 in statutory
12   damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47
13   U.S.C. § 227(b)(3)(C).
14          30.   Plaintiff is also entitled to seek injunctive relief prohibiting such
15   conduct in the future.
16                              PRAYER FOR RELIEF
17        WHEREFORE, Plaintiff, CHRISTOPHER BANGCAYA, respectfully requests
18   judgment be entered against Defendant, CAPITAL ONE FINANCIAL CORP., for
19   the following:
20                              FIRST CAUSE OF ACTION
21          31.   For statutory damages of $500.00 multiplied by the number of
22   negligent violations of the TCPA alleged herein (109); $54,500.00;
23          32.   Actual damages and compensatory damages according to proof at time
24   of trial;
25                            SECOND CAUSE OF ACTION
26          33.   For statutory damages of $1,500.00 multiplied by the number of
27   knowing and/or willful violations of TCPA alleged herein (109); $163,500.00;
28   //

                                               5     PLAINTIFF’S COMPLAINT FOR DAMAGES
     Case 2:18-cv-01026-GMN-NJK Document 1 Filed 06/06/18 Page 6 of 7



 1          34.   Actual damages and compensatory damages according to proof at time
 2   of trial;
 3                            ON ALL CAUSES OF ACTION
 4          35.   Actual damages and compensatory damages according to proof at time
 5   of trial;
 6          36.   Costs and reasonable attorneys' fees;
 7          37.   Any other relief that this Honorable Court deems appropriate.
 8
 9
     Dated: June 6, 2018
10                                                 Respectfully submitted,
11
12                                                  /s/ Mathew K. Higbee
                                                    Mathew K. Higbee, Esq.
13
                                                    Nevada Bar No. 11158
14                                                  HIGBEE & ASSOCIATES
                                                    1504 Brookhollow Dr., Ste 112
15
                                                    Santa Ana, CA 92705-5418
16                                                  (714) 617-8350
                                                    (714) 597-6729 facsimile
17                                                  Counsel for Plaintiff.
18
                                                    /s/ Alyson Dykes
19                                                  Alyson Dykes, Esq.
20                                                  Pro Hac Vice Pending
                                                    LAW OFFICE OF JEFFREY
21                                                  LOHMAN, P.C.
22                                                  4740 Green River Rd., Ste 206
                                                    Corona, CA 92880
23                                                  (866) 329-9217
24                                                  Counsel for Plaintiff.

25
26
27
28

                                               6      PLAINTIFF’S COMPLAINT FOR DAMAGES
     Case 2:18-cv-01026-GMN-NJK Document 1 Filed 06/06/18 Page 7 of 7



 1                                JURY TRIAL DEMAND
 2         Plaintiff, Christopher Bangcaya, hereby demands a trial by jury in the

 3   above captioned matter.

 4
     Dated: June 6, 2018                          Respectfully submitted,
 5
 6                                                /s/ Mathew K. Higbee
                                                  Mathew K. Higbee, Esq.
 7
                                                  Washington Bar No. 42755
 8                                                HIGBEE & ASSOCIATES
                                                  1504 Brookhollow Dr., Ste 112
 9
                                                  Santa Ana, CA 92705-5418
10                                                (714) 617-8350
                                                  (714) 597-6729 facsimile
11                                                Counsel for Plaintiff.
12
                                                  /s/ Alyson Dykes
13                                                Alyson Dykes, Esq.
14                                                Pro Hac Vice Pending
                                                  LAW OFFICE OF JEFFREY
15                                                LOHMAN, P.C.
16                                                4740 Green River Rd., Ste 206
                                                  Corona, CA 92880
17                                                (866) 329-9217
18                                                Counsel for Plaintiff.

19
20
21
22
23
24
25
26
27
28

                                              7     PLAINTIFF’S COMPLAINT FOR DAMAGES
